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                                                                                   Dismissal with prejudice
                                                                                   acknowledged.
                        IN THE UNITED STATES DISTRICT COURT                        JRS, DJ, 10/26/2020
                       FOR THE SOUTHERN DISTRICT OF INDIANA                        Distribution to all parties of
                                INDIANAPOLIS DIVISION                              record via CM/ECF.

  TAMMIE GABRIEL and ASHLEIGH                      :   CASE NO. 1:18-cv-02562-JRS-TAB
  GABRIEL,                                         :
                                                   :   JUDGE SWEENEY
                Plaintiffs,                        :   MAGISTRATE JUDGE BAKER
                                                   :
  v.                                               :
                                                   :
  NCC BUSINESS SERVICES, INC.,                     :   JOINT STIPULATION OF
                                                   :   DISMISSAL, WITH PREJUDICE
                Defendant.                         :


        Pursuant to Federal Rule of Civil Procedure 41(a)(1)(A)(ii), Plaintiffs Tammie Gabriel

 and Ashleigh Gabriel (“Plaintiffs”) and Defendant NCC Business Services, Inc. hereby stipulate

 to the dismissal of Plaintiffs’ claims with prejudice, each party to bear their own attorneys’ fees

 and costs.

                                              Respectfully submitted,


 /s/Robert E. Duff per 10/15 e-mail auth.     /s/David B. Shaver
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